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                     Exhibit 16
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                              Treasury Designates            86-16
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    U.S. DEPARTMENT OF THE TREASURY

    Treasury Designates Al-Salah Society Key Support Node for
    Hamas

    August 7, 2007


    (Archived Content)


    HP-531



    The U.S. Department of the Treasury today designated the Al-Salah Society, one of the largest
    and best-funded Hamas charitable organizations in the Palestinian territories. Al-Salah
    Society's director, Ahmad Al-Kurd, was also designated today.

    Hamas has used the Al-Salah Society, as it has many other charitable fronts, to finance its
    terrorist agenda, said Adam Szubin, Director of Treasury's Office of Foreign Assets Control
    (OFAC). Today's action alerts the world to the true nature of Al-Salah and cuts it off from the
    U.S. financial system.

    The Al-Salah Society supported Hamas-affiliated combatants during the first Intifada and
    recruited and indoctrinated youth to support Hamas's activities. It also financed commercial
    stores, kindergartens, and the purchase of land for Hamas. One of the most senior Gaza-based
    Hamas leaders and founders, Ismail Abu Shanab, openly identified the Al-Salah Society as one
    of the three Islamic charities that form Hamas' welfare arm. The Al-Salah Society has received
    substantial funding from Persian Gulf countries, including at least hundreds of thousands of
    dollars from Kuwaiti donors.

    The Al-Salah Society is directed by Ahmad Al-Kurd, a recognized high-ranking Hamas leader in
    Gaza. Al-Kurd's affiliation with Hamas goes back over a decade. During the first Intifada, Al-
    Kurd served as a Hamas Shura Council member in Gaza. As of late 2003, Al-Kurd was allegedly
    the top Hamas leader in Deir Al-Balah, Gaza. Since mid-2005, he has served as the mayor of Deir
    Al-Balah, elected as a Hamas candidate.



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    The Al-Salah Society has employed a number of Hamas military wing members. In late 2002, an
    official of the Al-Salah Society in Gaza was the principal leader of a Hamas military wing
    structure in the Al-Maghazi refugee camp in Gaza. The founder and former director of the Al-
    Salah Society's Al-Maghazi branch reportedly also operated as a member of the Hamas military
    wing structure in Al-Maghazi, participated in weapons deals, and served as a liaison to the rest
    of the Hamas structure in Al-Maghazi. At least four other Hamas military wing members in the
    Al-Maghazi refugee camp in Gaza were tied to the Al-Salah Society.

    The Al-Salah Society was included on a list of suspected Hamas and Palestinian Islamic Jihad-
    affiliated NGOs whose accounts were frozen by the Palestinian Authority as of late August 2003.
    After freezing the bank accounts, PA officials confirmed that the Al-Salah Society was a front for
    Hamas.

    Identifying Information

    Al-Salah Society
    AKAs:
    Al-Salah Association
    Al-Salah Islamic Foundation
    Al-Salah
    Al-Salah Islamic Society
    Al-Salah Islamic Association
    Al-Salah Islamic Committee
    Al-Salah Organization
    Islamic Salah Foundation
    Islamic Salah Society
    Islamic Salvation Society
    Islamic Righteous Society
    Islamic Al-Salah Society
    Jamiat Al-Salah Society
    Jamiat al-Salah al-Islamiya
    Jami'at al-Salah al-Islami
    Jami'a al-Salah
    Jammeat El-Salah
    Salah Islamic Association



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                                                                 2119
    Salah Welfare Organization
    Salah Charitable Association

    Addresses:
    PO Box 6035, Beshara Street, Deir al-Balah, Gaza
    Deir Al-Balah Camp, Gaza
    Athalatheeniy Street, Gaza
    Gaza City, Gaza
    Bureij, Gaza
    Al-Maghazi, Gaza
    Rafah, Gaza

    AHMAD HARB AL-KURD
    AKAs:
    Ahmed El-Kurd
    Ahmed Al Kurd
    Ahmed Hard Al-Kurd
    Ahmad Al-Kird
    Ahmad Al-Kard
    DOB:              circa 1949
    ALT. DOB: circa 1951
    POB:              Deir Al-Balah, Gaza
    Address:            Deir Al-Balah, Gaza

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